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                                    UNITED STATES JUDICIAL PANEL
                                                 on
                                     MULTIDISTRICT LITIGATION



IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                                          MDL No. 2741



                                        (SEE ATTACHED SCHEDULE)



                                     CONDITIONAL REMAND ORDER



The transferee court in this litigation has advised the Panel that coordinated or consolidated pretrial
proceedings in the action(s) on this conditional remand order have been completed and that remand to the
transferor court(s), as provided in 28 U.S.C. § 1407(a), is appropriate.

IT IS THEREFORE ORDERED that the action(s) on this conditional remand order be remanded to its/their
respective transferor court(s).

IT IS ALSO ORDERED that, pursuant to Rule 10.2 of the Rules of Procedure of the United States Judicial
Panel on Multidistrict Litigation, the transmittal of this order to the transferee clerk for filing shall be stayed 7
days from the date of this order. If any party files a notice of opposition with the Clerk of the Panel within
this 7−day period, the stay will be continued until further order of the Panel. This order does not become
effective until it is filed in the office of the Clerk for the United States District Court for the Northern District
of California.

IT IS FURTHER ORDERED that, pursuant to Rule 10.4(a), the parties shall furnish the Clerk for the
Northern District of California with a stipulation or designation of the contents of the record to be remanded.



                                                              FOR THE PANEL:

                                 Feb 09, 2024

                                                              Tiffaney D. Pete
                                                              Clerk of the Panel
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IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                 MDL No. 2741



                              SCHEDULE FOR CRO


    TRANSFEREE          TRANSFEROR
 DIST DIV. C.A.NO.   DIST DIV. C.A.NO.   CASE CAPTION
 CAN 3 20−06345      FLM 8 20−01968      Bundy v. Monsanto Company et al
